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August 12, 2019

VIA ECF

Hon. Leda Dunn Wettre, U.S.M.J.

U.S. District Court

M. L. King, Jr. Federal Building & Courthouse
50 Walnut St., Room 2A

Newark, NJ 07102

Re: Oz Master Fund Ltd. et al. v. Perrigo Co. ple, et al.
Civil Action No. 2:19-cv-4900

Dear Judge Wettre:

This firm, together with Fried, Frank, Harris, Shriver & Jacobson LLP, represents
Defendant Perrigo Company ple (“Perrigo”) in the above-captioned action. On behalf of all
parties, we write to respectfully request an extension of the November 15, 2019 fact discovery
deadline to February 15, 2020 to conform to the deadlines in the other Individual Actions.

As the Court may recall, on June 27, 2019, the Court so-ordered the joint request of the
parties to the Individual Actions to extend the fact discovery deadline of November 15, 2019 to
February 15, 2020. See Order, Consolidated Class Action, ECF 207.2 ‘The above-captioned
action was not included in the joint request. The purpose of this letter is to request that this

 

The Individual Actions are: Carmignac Gestion, S.A, v. Perrigo Co, ple et al., No. 2:17-cv-10467 (D.N.J.);
Manning & Napier Advisors, LLC v. Perriga Ca, ple et al., No. 2:18-cv-00674 (D.N.J.}); Adason Capital L.P. et ai. v.
Perriga Co, ple et al, No. 2:18-cv-O1119 (D.NJ.); Pentwater Equity Opportunities Master Fund Lid. et al. v.
Perrizo Co, ple et al., No. 2:18-ev-01121 (D.N.J.); Aare! insurance Company, Ltd, et al. v. Perrigo Co. ple et al.,
No. 2:18-cv-02074 (D.N.1.); First Manhattan Co. v. Perrigo Co. ple et al., No. 2:18-cv-02291 (D.N.J.); TIAA-CREF
investment Management, LLC et al. v. Perrigo Co. pic et al, No. 2:18-cv-08175 (D.N.J.); Nationwide Mutual Funds
et al, vy. Perrigo Co. pic et al., No, 2:18-cv-15382 (D.N.J.); WOM Alternatives: Event-Driven Fund et al. v. Perrigo
Coa, ple et al., No. 2:18-cv-16204 (D.N.J.); Hudson Bay Master Fund Ltd. et al. y. Perrigo Co, ple et al., No. 2:18-
ev-16206 (D.N.J); Scinvab Capital Trust et al. v. Perrigo Co. ple et al., No. 2:19-cv-03973 (D.N.J.); Aberdeen
Canaca Funds-Global Equity Fund et al. v, Perrigo Co. ple et al., No, 2:19-cv-06560 (D.N.J.).

2 The Consolidated Class Action is Roofer’y Pension Fund v, Papa, et al., No. 2:16-cv-2805 (D.N.I.}.
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action be put on the same schedule as the other Individual Actions, such that the fact discovery
deadline of November 15, 2019 is extended to February 15, 2020. Cf Stipulation and Order,
ECF 29 (directing the parties in this action to proceed in accordance with the discovery schedule
in the Individual Actions).

For these reasons, the parties respectfully request that the fact discovery deadline in this
action be extended from November 15, 2019 to February 15, 2020.

Respektfully ,

Alan S. Naar
ASN:cd
ce: All counsel of record (via ECF)

So Ordered
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Leda D. Wettre, USM

 
    
 

    
